     Case 2:85-cv-04544-DMG-AGR      Document 1534    Filed 01/07/25   Page 1 of 29 Page
                                         ID #:52399




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17                         UNITED STATES DISTRICT COURT
18                       CENTRAL DISTRICT OF CALIFORNIA
19                                 WESTERN DIVISION
20
      JENNY LISETTE FLORES, et al.,            Case No. 2:85-cv-04544-DMG-AGRx
21
22                Plaintiffs,                  DEFENDANTS’ RESPONSE IN
                                               OPPOSITION TO PLAINTIFFS’
23
           v.                                  MOTION TO MODIFY 2022 CBP
24                                             SETTLEMENT
25    MERRICK B. GARLAND, Attorney
      General of the United States, et al.,    Hearing Date: January 24, 2025
26                                             Time: 9:30 a.m.
27                Defendants.                  Hon. Dolly M. Gee
28
     Case 2:85-cv-04544-DMG-AGR                    Document 1534              Filed 01/07/25           Page 2 of 29 Page
                                                       ID #:52400



 1                                            TABLE OF CONTENTS
 2    I.    INTRODUCTION ..............................................................................................1
 3    II.   BACKGROUND ................................................................................................1
 4    III. ARGUMENT .....................................................................................................3
 5          A. Rule 60(b) does not permit modification because the Settlement is not
               an order or judgment. ....................................................................................3
 6
            B. In the alternative, and assuming, arguendo, that the Settlement is an
 7             order or judgment, Plaintiffs have not met their burden under Rule 60(b)
 8             to justify modification. ..................................................................................6
 9               1. Plaintiffs have not shown a significant change in circumstances
                    extraordinary enough to warrant extension. ............................................7
10
                     a. Guidance .............................................................................................8
11
                     b. Facility Designation and Nutrition .....................................................8
12
                     c. Enhanced Medical Support .................................................................9
13
                     d. Temperature and Warmth ...................................................................9
14
                     e. Sleep..................................................................................................10
15
                     f. Hygiene and Sanitation .....................................................................11
16
                     g. Child-Appropriate Environment .......................................................11
17
                     h. Caregivers .........................................................................................17
18                   i. Notice Requirements. .......................................................................18
19                   j. Monitoring ........................................................................................19
20               2. The Court should not order a modification because the parties
21                  anticipated the allegedly changed circumstances. .................................20
22               3. The allegedly changed circumstances do not make compliance with
                    the termination provision more onerous, unworkable, or detrimental
23                  to the public interest. ..............................................................................21
24               4. Extending the Settlement’s termination date would not be suitably
25                  tailored to resolve the problems created by the allegedly changed
                    conditions. ..............................................................................................21
26
      IV. CONCLUSION ................................................................................................23
27
28

                                                                 ii
     Case 2:85-cv-04544-DMG-AGR                  Document 1534             Filed 01/07/25         Page 3 of 29 Page
                                                     ID #:52401



 1                                        TABLE OF AUTHORITIES
 2    Cases
 3    Ashker v. Newsom,
        81 F.4th 863 (9th Cir. 2023) ..................................................................................4
 4
      Ashker v. Newsom,
 5
        968 F.3d 939 (9th Cir. 2020) ........................................................................ 15–16
 6
      Criswell v. Boudreaux,
 7      2022 WL 3646049 (E.D. Cal. Apr. 13, 2022) .................................................4, 13
 8    David C. v. Leavitt,
        242 F.3d 1206 (10th Cir. 2001) .............................................................................7
 9
      Flores v. Lynch,
10
        828 F.3d 898 (9th Cir. 2016) .................................................................................5
11    Holland v. N.J. Dep’t of Corr.,
12      246 F.3d 267 (3d Cir. 2001)...................................................................................7
13    In re Sawtelle Partners, LLC,
         No. 2:16-BK-21234-BR, 2019 WL 2855786 (B.A.P. 9th Cir. July 1, 2019)........5
14
      In re Valdez Fisheries Dev. Ass’n, Inc.,
15
         439 F.3d 545 (9th Cir. 2006) .................................................................................5
16    Jeff D. v. Otter,
17      643 F.3d 278 (9th Cir. 2011) .................................................................................7
18    Kelly v. Wengler,
        822 F.3d 1085 (9th Cir. 2016) ...........................................................................5, 7
19
      Kokkonen v. Guardian Life Ins. Co. of Am.,
20      511 U.S. 375 (1994) ...........................................................................................4–5
21    Lab./Cmty. Strategy Ctr. v. Los Angeles Cnty. Metro. Transp. Auth.,
22      564 F.3d 1115 (9th Cir. 2009) ..................................................................... passim
23    O’Connor v. Colvin,
        70 F.3d 530 (9th Cir. 1995) ...................................................................................4
24
      Rouser v. White,
25      825 F.3d 1076 (9th Cir. 2016) ...............................................................................7
26    Rufo v. Inmates of Suffolk Cnty. Jail,
27      502 U.S. 367 (1992) .........................................................................................1, 20
28

                                                              iii
     Case 2:85-cv-04544-DMG-AGR                    Document 1534              Filed 01/07/25          Page 4 of 29 Page
                                                       ID #:52402



 1    Thompson v. U.S. Dep’t of Hous. & Urb. Dev.,
        404 F.3d 821 (4th Cir. 2005) ...........................................................................7, 20
 2
      United States v. Asarco Inc.,
 3      430 F.3d 972 (9th Cir. 2005) .................................................................... 6, 20–21
 4
 5    Rules
 6    Fed. R. Civ. P. 23(e)...................................................................................................5
 7    Fed. R. Civ. P. 60(b) ..................................................................................................3
 8
 9
10
11
12
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     Case 2:85-cv-04544-DMG-AGR       Document 1534       Filed 01/07/25   Page 5 of 29 Page
                                          ID #:52403



 1    I. INTRODUCTION
 2          The parties agreed that the 2022 U.S. Customs and Border Protection (“CBP”)
 3    Settlement Agreement applicable to the Rio Grande Valley (“RGV”) and El Paso
 4    U.S. Border Patrol Sectors (“Settlement”) “shall terminate two and one half years
 5    from its Effective Date, or upon the termination of the Flores Settlement Agreement
 6    [(“FSA”)], whichever is sooner.” ECF No. 1254-1, § II.8. Under this unambiguous
 7    term, the Settlement will terminate on January 29, 2025—two-and-one-half years
 8    from its Effective Date.    The parties have not agreed to an extension of the
 9    termination date, nor have they conferred upon this Court any authority to extend
10    the Settlement.
11          Plaintiffs ask the Court to extend the Settlement under Rule 60(b) of the
12    Federal Rules of Civil Procedure based on an alleged lack of substantial compliance.
13    See Plaintiffs’ Motion to Modify 2022 CBP Settlement, ECF No. 1526. But the
14    Settlement is not a court order or judgment subject to a Rule 60(b) modification—it
15    may only be extended with consent of the parties.
16          Even if Rule 60(b) applied and the Settlement could somehow be extended
17    beyond the period agreed to by the parties, it would require an extraordinary showing
18    to do so, and, as described below, Plaintiffs have failed to make such a showing on
19    the four factors for altering a consent decree under Rule 60(b). See Rufo v. Inmates
20    of Suffolk Cnty. Jail, 502 U.S. 367, 383–93 (1992).
21          As the parties agreed, the Settlement should terminate on or before January
22    29, 2025. While the extension sought by Plaintiffs is unsupported and should be
23    denied, Defendants are willing to engage with Plaintiffs on a reasonable path
24    forward to address the concerns raised by the Juvenile Care Monitor (“JCM”) in her
25    most recent report to ensure ongoing compliance with the FSA.
26    II. BACKGROUND
27          On June 26, 2019, Plaintiffs filed an Ex Parte Application for a Temporary
28    Restraining Order, asserting that CBP was violating the 1997 FSA. See ECF No.

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     Case 2:85-cv-04544-DMG-AGR       Document 1534     Filed 01/07/25    Page 6 of 29 Page
                                          ID #:52404



 1    572 (“2019 TRO Motion”). On May 21, 2022, the parties jointly filed a notice of
 2    settlement to resolve the 2019 TRO Motion. See ECF No. 1254. In the Settlement,
 3    the parties intended to “clarify[ ] the Parties’ understanding of the meaning of
 4    [Paragraphs 11 and 12A] of the [FSA],” as they apply to conditions in the RGV and
 5    El Paso Border Patrol Sectors. ECF No. 1254-1, at 3.1 The parties agreed to specific
 6    requirements relating to conditions for minors in CBP custody in those Sectors. See
 7    id. §§ VII–XII. In the Settlement, the parties also agreed to a sixteen-month
 8    appointment of the JCM “to monitor compliance in the RGV and El Paso Sectors
 9    with the [FSA] as detailed in this [Settlement].” Id. §§ IX.1, IX.10; see also ECF
10    No. 1280 (order appointing JCM). The Settlement allows the parties to agree to
11    extend the JCM’s term, but “[i]f no agreement is reached, Plaintiffs may petition the
12    Court for a single extension of the Monitor’s term.” ECF No. 1254-1, § IX.10.
13    Finally, the parties agreed, without a provision for extension, that the Settlement
14    “shall terminate two and one half years from its Effective Date, or upon the
15    termination of the Flores Settlement Agreement, whichever is sooner.” Id. § II.8.
16    Two-and-one-half years from the Effective Date is January 29, 2025.              The
17    Settlement does not include any provision for an extension of the termination date.
18          Because this case is a class action, the parties moved for final approval of the
19    Settlement under Federal Rule of Civil Procedure 23, see ECF No. 1266, at 5–6,
20    which the Court granted on July 29, 2022, ECF No. 1278. Accordingly, the Court
21    denied the 2019 TRO Motion. Id. at 3. Separately, the Court issued an order
22    appointing a JCM and specifying the JCM’s duties. ECF No. 1280. After the parties
23    agreed to three extensions of the JCM’s term, the JCM’s term expired on December
24    27, 2024. See ECF Nos. 1381, 1426, 1470, at 1–2. As described in more detail
25    below, since July 2022, CBP has substantially implemented the terms of the
26
27    1
           For docket items, page numbers in this memorandum refer to the ECF-
28    stamped page numbers on the top right of the document.

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     Case 2:85-cv-04544-DMG-AGR       Document 1534     Filed 01/07/25   Page 7 of 29 Page
                                          ID #:52405



 1    Settlement. See generally Ex. A, Declaration of Gerardus Caanen (“Caanen Decl.”);
 2    Ex. B, Declaration of Derrick Stamper (“Stamper Decl.”); Ex. C, Declaration of
 3    Greta Campos (“Campos Decl.”).
 4    III.   ARGUMENT
 5           A.    Rule 60(b) does not permit modification because the Settlement is
 6                 not an order or judgment.
 7           The parties unambiguously agreed that the Settlement “shall terminate” two-
 8    and-one-half years from its effective date and did not agree to any condition or
 9    conditions that, if met, or not met, would extend the termination date, or any
10    mechanism for seeking a modification of the Settlement. Plaintiffs now ask the
11    Court to modify the termination provision of the Settlement pursuant to Rule 60(b)
12    to double the life of the Settlement. ECF No. 1526-1, at 7; ECF No. 1526-2, at 3.
13    Contrary to Plaintiffs’ contention, Rule 60(b) does not empower the Court to amend
14    the terms of the Settlement. Rule 60(b) states that “the court may relieve a party or
15    its legal representative from a final judgment, order, or proceeding” for any one of
16    several enumerated reasons, including when “applying [the judgment] prospectively
17    is no longer equitable,” Fed. R. Civ. P. 60(b)(5), or under a catch-all, “any other
18    reason that justifies relief,” Fed. R. Civ. P. 60(b)(6).2 But the Settlement is not a
19    court order, judgment, or proceeding. Thus, Rule 60(b) does not apply here.
20           The Court never entered the Settlement onto the docket as a judgment. Nor
21    did the Court incorporate the Settlement into an order. Unlike the order appointing
22    the JCM, the parties never asked the Court to incorporate the Settlement, including
23    the termination provision, into an order. The Supreme Court has found that a court
24
25    2
              Plaintiffs do not articulate the subsection in Rule 60(b) that they believe
26    justifies modification of the Settlement. ECF No. 1526-1. Indeed, the government
      doubts Rule 60(b) would apply given that it governs when a party would be
27    “relieve[d]” of a judgment, and Plaintiffs seek instead to impose the Settlement on
28    the government.

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     Case 2:85-cv-04544-DMG-AGR       Document 1534      Filed 01/07/25    Page 8 of 29 Page
                                          ID #:52406



 1    may make a settlement agreement part of an order of dismissal “either by separate
 2    provision (such as a provision ‘retaining jurisdiction’ over the settlement agreement)
 3    or by incorporating the terms of the settlement agreement in the order.” Kokkonen
 4    v. Guardian Life Ins. Co. of Am., 511 U.S. 375, 380–81 (1994). The Court here did
 5    neither. The Court denied the 2019 TRO as moot “by agreement of the Parties.”
 6    ECF No. 1278, at 3. But that language does not incorporate the Settlement into the
 7    Order.   The Ninth Circuit has held that “an order ‘based on’ the settlement
 8    agreement, without more, does not ‘embody the settlement contract.’” O’Connor v.
 9    Colvin, 70 F.3d 530, 532 (9th Cir. 1995) (per curiam) (quoting Kokkonen, 511 U.S.
10    at 381). That the parties filed the Settlement on the docket also does not make it part
11    of the Court order. 3 Id.
12          Importantly, the parties could have asked the Court to enter the Settlement as
13    a judgment or to incorporate the Settlement into a Court order. They did not.
14    Likewise, if Plaintiffs wanted the option to seek an extension of the Settlement based
15    on an alleged lack of substantial compliance, they could have negotiated for such a
16    provision. They did not.4 Instead, Plaintiffs seek to impose Rule 60(b) on a
17    settlement that is not part of an order. Plaintiffs’ arguments are unavailing.
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20    3
             The courts in O’Connor and Kokkonen found no jurisdiction to enforce the
21    settlements there, but the procedural posture here is different because the Settlement
      did not result in the dismissal of the entire case. See Kokkonen, 511 U.S. at 380–81;
22    O’Connor, 70 F.3d at 532. This precise situation likely is uncommon—a settlement
23    that resolved a dispute about an underlying consent decree but was not made part of
      that consent decree or a separate order.
24    4
             The lack of an extension provision distinguishes this settlement from many
25    others. See, e.g., Ashker v. Newsom, 81 F.4th 863, 873 (9th Cir. 2023) (noting that
26    the settlement agreement provided that “[t]he Inmates can extend the Settlement
      Agreement for twelve months” if certain conditions are met); Criswell v. Boudreaux,
27    No. 1:20-CV-01048-DAD-SAB, 2022 WL 3646049, at *1 (E.D. Cal. Apr. 13, 2022)
28    (similar).

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     Case 2:85-cv-04544-DMG-AGR        Document 1534      Filed 01/07/25    Page 9 of 29 Page
                                           ID #:52407



 1          Plaintiffs note that the Court “approved” the Settlement. ECF No. 1526-1, at
 2    6–7. But approval is not incorporation. A judge’s “mere awareness and approval of
 3    the terms of the settlement agreement do not suffice to make them part of his order.”
 4    Kokkonen, 511 U.S. at 380–81. Here, the Court approved the Settlement for
 5    purposes of Rule 23(e). See ECF No. 1278, at 3. The Rule 23(e) process ensures
 6    that a class settlement is “fair, reasonable, and adequate” for the class. Fed. R. Civ.
 7    P. 23(e)(2). It says nothing about whether the terms of the class settlement are part
 8    of the Court’s order. Not all class-action settlements are court orders or judgments.
 9    For example, in the bankruptcy context, the Ninth Circuit has rejected the argument
10    that a court’s approval of a settlement agreement makes the agreement part of the
11    court’s order. See In re Valdez Fisheries Dev. Ass’n, Inc., 439 F.3d 545, 549 (9th
12    Cir. 2006); In re Sawtelle Partners, LLC, No. 2:16-BK-21234-BR, 2019 WL
13    2855786, at *6–7 (B.A.P. 9th Cir. July 1, 2019). Thus, the Court’s approval under
14    Rule 23 does not make the Settlement part of a Court order.
15          The opinions that Plaintiffs cite do not establish that Rule 60(b) empowers the
16    Court to alter the Settlement’s termination provision. Plaintiffs cite Flores v. Lynch,
17    828 F.3d 898, 905 (9th Cir. 2016), to claim that the Settlement, like the FSA, is a
18    consent decree, ECF No. 1526-1, at 11, but the fact that the Ninth Circuit has
19    previously considered a motion to modify the FSA does not mean that this
20    Settlement is a modifiable court order. Plaintiffs’ reliance upon Kelly v. Wengler,
21    822 F.3d 1085 (9th Cir. 2016), is inapposite. See ECF No. 1526-1, at 11–12. In
22    Kelly, “[t]he district court’s order explicitly incorporated the parties’ stipulation for
23    dismissal.” 822 F.3d at 1094–95 (emphasis added). In turn, the parties’ stipulation
24    of dismissal “explicitly incorporated the parties’ settlement agreement and attached
25    the agreement as an exhibit.” Id. (emphasis added). Thus, the Ninth Circuit held
26    that “the parties’ settlement agreement is incorporated into the court’s dismissal
27    order.” Id. at 1095. The district court’s “extension of the settlement agreement was
28    therefore a modification of a court order.” Id. at 1097–98. In contrast, the Court

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 10 of 29 Page
                                          ID #:52408



 1    here did not explicitly incorporate the Settlement into its order, nor did the parties
 2    incorporate the Settlement into a stipulation of dismissal.
 3          Rule 60(b) does not grant the Court authority to extend the life of a contract
 4    that is not part of a Court order. Therefore, the Court should deny Plaintiffs’ motion
 5    and recognize that the Settlement terminates on January 29, 2025.
 6          B.     In the alternative, and assuming, arguendo, that the Settlement is
 7                 an order or judgment, Plaintiffs have not met their burden under
 8                 Rule 60(b) to justify modification.
 9          Assuming, arguendo, that the Settlement is subject to modification under Rule
10    60(b), Plaintiffs have not established that any of the reasons in Rule 60(b) would
11    warrant modification.5 To justify the modification of a consent decree, Plaintiffs
12    must prove that four conditions are met. Lab./Cmty. Strategy Ctr. v. Los Angeles
13    Cnty. Metro. Transp. Auth., 564 F.3d 1115, 1120 (9th Cir. 2009). First, Plaintiffs
14    must show that a “significant change either in factual conditions or in the law”
15    happened after the parties executed the Settlement. Id. (quoting United States v.
16    Asarco Inc., 430 F.3d 972, 979 (9th Cir. 2005)). Second, Plaintiffs must prove that
17    they did not anticipate the alleged change when they entered into the Settlement. Id.
18    Third, Plaintiffs must demonstrate “that the changed factual circumstance makes
19    ‘compliance with the consent decree more onerous, unworkable, or detrimental to
20    the public interest.’” Id. (quoting Asarco Inc., 430 F.3d at 979). Finally, Plaintiffs
21    must establish that their proposed extension of the Settlement is “suitably tailored to
22    resolve the problems created by the changed . . . conditions.” Id. (quoting Asarco
23    Inc., 430 F.3d at 979). Plaintiffs fail to meet any of these four conditions.
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27    5
            Defendants do not concede that the Settlement is a consent decree or otherwise
28    an order or judgment subject to modification pursuant to Rule 60(b).

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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25        Page 11 of 29 Page
                                         ID #:52409



 1                 1.    Plaintiffs have not shown a significant change in
 2                       circumstances extraordinary enough to warrant extension.
 3          Plaintiffs bear the burden of demonstrating that a significant, unanticipated
 4    change in circumstances warrants extending the Settlement. 6         See Lab./Cmty.
 5    Strategy Ctr., 564 F.3d at 1120. Plaintiffs posit that this factor may be satisfied if
 6    they can show that CBP did not substantially comply with the Settlement. ECF No.
 7    1526-1, at 11–12. While the FSA itself includes a substantial-compliance-
 8    termination provision (FSA §§ 31, 35), the Settlement has only a date of termination,
 9    making it inappropriate for the Court to condition the termination of the Settlement
10    upon a finding of substantial compliance.       Cases where courts considered an
11    extension under Rule 60(b) involved different or more extreme circumstances. See
12    Lab./Cmty. Strategy Ctr., 564 F.3d at 1120 (considering substantial compliance only
13    when the decree itself allowed for its extension); Thompson v. U.S. Dep’t of Hous.
14    & Urb. Dev., 404 F.3d 821, 827 (4th Cir. 2005) (unanticipated change of
15    circumstances existed when there was a “nearly complete failure to comply with
16    their obligations”); David C. v. Leavitt, 242 F.3d 1206, 1212 (10th Cir. 2001) (court
17    found defendant to be “20 percent in compliance and 80 percent in noncompliance”
18    before extending); Holland v. N.J. Dep’t of Corr., 246 F.3d 267, 283 (3d Cir. 2001)
19    (“conditions have changed so that the ‘basic purpose of the original consent decree’
20    has been ‘thwart[ed]’”); see also Kelly, 822 F.3d at 1097–98 (affirming the district
21    court’s extension of a decree as a contempt sanction). “[I]n cases in which courts
22    concluded that extensions of the consent decrees were warranted,” the courts had
23    found “near total noncompliance.” Lab./Cmty. Strategy Ctr., 564 F.3d at 1123.
24    Even if a substantial-compliance standard were applied, Plaintiffs would not meet it
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      6
            Defendants do not have the burden to show that substantial compliance merits
      termination because they are not the ones seeking a modification, unlike Rouser v.
27    White, 825 F.3d 1076, 1080 (9th Cir. 2016), and Jeff D. v. Otter, 643 F.3d 278, 280–
28    81 (9th Cir. 2011).

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 12 of 29 Page
                                          ID #:52410



 1    because CBP has substantially complied with its obligations under the Settlement.
 2    Id. at 1121. Substantial compliance “cannot be satisfied by reference to one
 3    particular figure, while ignoring alternative information.” Id. at 1122. Rather, the
 4    Court must use a “holistic view of all the available information” to determine
 5    whether compliance is substantial. Id. In Labor/Community Strategy Center, the
 6    Ninth Circuit held that the district court did not abuse its discretion by declining to
 7    extend the term of a consent decree where the defendants failed to comply with “just
 8    one” of the decree’s three “essential” requirements, the metrics used to evaluate
 9    compliance were misleading, and the plaintiffs seeking extension of the consent
10    decree “ignore[d] the many ways” in which the defendants had met or exceeded their
11    obligations. Id. at 1121–22.
12          Here, Plaintiffs fail to show that extending the Settlement is warranted
13    because they ignore Defendants’ general compliance with the vast majority of the
14    Settlement provisions. In addition, most of Plaintiffs’ allegations of noncompliance
15    overstate the noncompliance or rest on misinterpretations of the Settlement.
16                      a. Guidance
17          The Settlement requires CBP to issue guidance consistent with the Settlement

18    and distribute it to all employees in the RGV and El Paso Sectors. ECF No. 1254-

19    1, § II.6. CBP has complied with this provision, and the guidance is still in place.
20    See Caanen Decl. ¶ 3; Stamper Decl. ¶ 3. Plaintiffs do not allege otherwise.
21                        b. Facility Designation and Nutrition
22          In Section VII.1 of the Settlement, the parties agreed that CBP will
23    expeditiously transfer most class members to juvenile-priority facilities and make
24    all reasonable efforts to hold class members in these facilities while in CBP custody.
25    ECF No. 1254-1, § VII.1. CBP also agreed to ensure the safety and security of class
26    members and to maintain an adequate supply of necessary items. Id. Section VII.4
27    further requires CBP to provide age-appropriate meals, drinks, and snacks that meet
28    class members’ daily caloric needs. Id. § VII.4. CBP has substantially complied

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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25        Page 13 of 29 Page
                                         ID #:52411



 1    with these requirements. See Caanen Decl. ¶¶ 5–6, 16; Stamper Decl. ¶¶ 5, 11. The
 2    JCM commends CBP’s age-appropriate menus, provision of snacks, and food
 3    variety. ECF No. 1522, at 8–9. Plaintiffs do not allege otherwise.
 4                       c. Enhanced Medical Support
 5          Next, three pages of the Settlement outline the procedures for Enhanced
 6    Medical Support. See ECF No. 1254-1, § VII.3. This subsection is the largest
 7    subsection of the Settlement, as it details the procedures to ensure the health and
 8    welfare of minors. Id. CBP’s medical support was also one of the focal points of
 9    the litigation leading up to the Settlement. See ECF No. 1254, at 3 (noting that the
10    2019 TRO Motion “primarily” sought relief related to the medical needs of children
11    and a remediation plan to make facilities safe and sanitary). Plaintiffs do not allege
12    that CBP has failed to substantially comply with this subsection. Indeed, according
13    to the recent JCM Report, CBP is generally complying with this section and is
14    constantly making improvements. See ECF No. 1522, at 13–21. CBP continues to
15    implement the requirements for Enhanced Medical Support and continues to
16    improve its procedures. See Campos Decl. ¶¶ 5–23. CBP has substantially complied
17    with the requirements for enhanced-medical support.
18                       d. Temperature and Warmth
19          The parties agreed that CBP will maintain an ambient temperature of 69 to 83
20    degrees Fahrenheit in Juvenile Priority Facilities, keep a stock of clothing, launder
21    soiled and wet clothing, and provide additional blankets upon a class member’s (or
22    their parent’s) request. ECF No. 1254-1, § VII.5. As the JCM noted, the RGV and
23    El Paso facilities “continue to be in general compliance with the temperature
24    requirements of the Settlement.” ECF No. 1522, at 9; see Caanen Decl. ¶ 14;
25    Stamper Decl. ¶ 12. Moreover, CBP instructs caregivers to advise children that they
26    may ask for additional clothing or blankets, and there are posters in the facilities
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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 14 of 29 Page
                                          ID #:52412



 1    advising children of the same.7 Campos Decl. ¶ 19; Caanen Decl. ¶¶ 10, 14, 19;
 2    Stamper Decl. ¶¶ 14, 18. The JCM does not report that CBP has failed to “maintain
 3    a stock” of warm clothing, provide additional blankets or clothing upon request, or
 4    launder soiled clothing, which is what the Settlement explicitly requires. ECF No.
 5    1254-1, § VII.5.
 6          Plaintiffs argue that class members do not regularly receive new outer
 7    garments. ECF No. 1526-1, at 19. However, Plaintiffs refer to a temporary,
 8    unintentional situation that CBP has since remedied. See Stamper Decl. ¶¶ 12–13
 9    (“This temporary issue has been rectified, such that clean clothes are provided” at
10    every shower, if class members’ clothes are dirty, or upon request).
11                        e. Sleep
12          The Settlement further outlines procedures for sleeping, generally requiring
13    CBP to provide class members with “sufficient space, as well as a mat and blanket,”
14    during sleep hours. ECF No. 1254-1, § VII.6. Like the previous section, the parties
15    agreed that CBP will provide additional clothing and blankets to class members
16    when class members request them or express discomfort from cold, or when CBP
17    observes class members “shivering or huddling for warmth.” Id. CBP also agreed
18    to dim the lights if it is safe to do so, make reasonable efforts to minimize noise and
19    disruptions, and place clocks in the rooms. Id.
20          Plaintiffs do not allege that CBP is not substantially complying with the sleep
21    provisions, nor would the evidence support such an allegation. Nothing in the recent
22    JCM reports indicate that CBP is not meeting its commitments regarding lighting,
23    noise, space, mats, blankets, or clocks. Regarding warmth, as noted above, CBP
24
25    7
             Plaintiffs want CBP to affirmatively issue extra clothing more often.
26    However, RGV and El Paso Sectors do not “affirmatively issue extra clothing to
      families and children, as such could result in items not being used, and due to limited
27    storage capacity in holding areas, the clothing may become unclean, unserviceable,
28    lost, or taken without permission.” Stamper Decl. ¶ 12; Caanen Decl. ¶ 14.

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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25        Page 15 of 29 Page
                                         ID #:52413



 1    maintains an adequate stock of warm clothing and blankets, and caregivers are
 2    instructed to advise children that they may ask for clothing or blankets. Caanen
 3    Decl. ¶¶ 6, 14, 19; Stamper Decl. ¶¶ 5, 12, 18; Campos Decl. ¶ 19. Overall, CBP
 4    has substantially complied with the provisions regarding sleep.
 5                       f. Hygiene and Sanitation
 6          CBP must provide hygiene and sanitation items to class members. ECF No.
 7    1254-1, § VII.7. Like medical care, this is an “essential” provision that formed the
 8    basis for the litigation leading to the Settlement.      See ECF No. 1254, at 3.
 9    Specifically, the parties agreed that CBP will provide “hygiene kits” when showers
10    are offered and upon request, and provide showers “as soon as possible” after arrival
11    and at 48-hour intervals thereafter.     No. 1254-1, § VII.7.     Toothbrushes and
12    toothpaste are provided daily and upon request, and caregivers must assist with
13    hygiene routines, as needed. Id. CBP must also launder soiled clothing “to the
14    extent operationally practicable” and replace soiled clothing. Id. Facilities must
15    maintain infant-changing stations, functioning toilets and sinks, toilet paper,
16    feminine-hygiene products, and hand soap. Id.
17          CBP has met its commitments in this subsection. See Caanen Decl. ¶¶ 6, 14,
18    17, 19; Stamper Decl. ¶¶ 5, 12, 15, 18. The JCM reports “have documented CBP’s
19    general compliance with the conditions and amenity requirements” related to
20    hygiene and sanitation. ECF No. 1522, at 25. Other than concerns related to clean
21    clothing, which CBP remedied (see Section III.B.1.d., supra), Plaintiffs do not allege
22    that CBP has failed to comply with the hygiene-and-sanitation provisions.
23    Accordingly, Plaintiffs have not demonstrated that CBP has failed to substantially
24    comply with Section VII.7 of the Settlement—one of the essential provisions.
25                       g. Child-Appropriate Environment
26          In the Settlement, the parties agreed that CBP will maintain a child-
27    appropriate environment, which includes family-unity provisions and other “Special
28    Considerations.” ECF No. 1254-1, § VII.8.

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 16 of 29 Page
                                          ID #:52414



 1                          i.   Family Unity
 2          The parties agreed that CBP will maintain family unity by keeping family
 3    members in the same pods, absent an “articulable operational reason.”               Id.
 4    § VII.8.B.1. The parties envisioned that each facility may hold family members in
 5    a different manner based on the facility’s demographics and capabilities, and notes
 6    that a facility may need to “house all teenage boys together, regardless of whether
 7    they entered with a family member.” Id. § VII.8.B.5. The parties agreed that, when
 8    housing family members in the same pods is not operationally feasible, CBP will
 9    record the reasons for holding them apart and make “all reasonable efforts” to ensure
10    that the family members have the opportunity to interact. Id. § VII.8.B.3. CBP
11    agreed to inform class members that they can request to interact with family
12    members housed in separate pods. Id.
13          The evidence indicates that CBP has substantially complied with the
14    provisions regarding a Child-Appropriate Environment. Caanen Decl. ¶¶ 7–10;
15    Stamper Decl. ¶¶ 6–7. Plaintiffs’ assertion that CBP has “never complied” with the
16    family-unity provisions of the Settlement lacks support. Plaintiffs cite JCM reports
17    stating that minors are sometimes held in different pods than their adult relatives and
18    that sometimes CBP could not provide a particular reason for holding the family
19    members separately. ECF No. 1526-1, at 14. However, holding family members in
20    different pods is not a breach of the Settlement; the Settlement envisions that family
21    members may not always be held in the same pod for operational reasons. The RGV
22    and El Paso Juvenile Priority Facilities each face unique and different operational
23    challenges. See Caanen Decl. ¶ 7 (noting that the Donna Processing Facility has 6
24    pods in use); Stamper Decl. ¶ 5 (noting that the El Paso Hardened Facility has 160
25    pods). For example, the Settlement cites to the possibility that a facility may need
26    to “house all teenage boys together.” ECF No. 1254-1, VII.8.B.5 (emphasis added).
27    Thus, even if CBP sometimes houses certain groups of children together, rather than
28    with their parent or legal guardians—such as teenage boys or teenage girls—this

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25       Page 17 of 29 Page
                                          ID #:52415



 1    decision, by itself, is not a breach of the Settlement. Moreover, in the Settlement,
 2    the parties acknowledge that situations may arise when CBP cannot fully comply
 3    with the Settlement’s standards. See ECF No. 1254-1, §§ IV.1, V.1, VI.1.
 4            Plaintiffs’ evidence is insufficient to demonstrate that CBP does not provide
 5    an “articulable operational reason” for how it holds members of family units. ECF
 6    No. 1526-1, at 14–15 (citing 2023 JCM Reports and the December 2024 JCM
 7    Report). The December 2024 JCM Report—which is the most recent and therefore
 8    the most relevant report (Criswell, 2022 WL 3646049, at *8)—only notes that during
 9    a September 2024 visit, CBP personnel “at the Donna facility” were “unclear” about
10    the protocol to determine where to house an accompanied minor. 8 ECF No. 1522,
11    at 7.
12            Next, Plaintiffs’ argument that CBP has failed to provide opportunities for
13    family visitation ignores evidence of general compliance and recent improvements.
14    Plaintiffs cite the December 2024 JCM report, in which the JCM notes that some
15    “trusted adults”—i.e., not parents—were transferred from Donna to the Ursula
16    facility and class members could not visit with these adults. ECF No. 1522, at 7–8.
17    CBP acknowledges that, because the Donna Facility generally houses families and
18    unaccompanied children, such trusted adults may be held at the Ursula facility.
19    Caanen Decl. ¶ 5. In such cases, visitation may not be logistically and operationally
20    feasible. Id. ¶ 10. In addition, in November 2024, the JCM observed “regular
21    visitation for families” at Donna. ECF No. 1522, at 7–8. The JCM stated that CBP
22    was scheduling and logging visits, and that Donna “scheduled a new visitation
23
24    8
             The JCM does not state who the “personnel” were—whether they were
25    caregivers, or other contractors (who do not determine where a minor is placed), or
26    agents. Accordingly, this evidence should be given little, if any, weight because the
      individuals who made the statement are unknown and the Court cannot determine
27    whether they would know the decision-making behind holding members of family
28    units in separate pods.

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     Case 2:85-cv-04544-DMG-AGR        Document 1534 Filed 01/07/25        Page 18 of 29 Page
                                           ID #:52416



 1    program in the afternoon” in which families congregated in recreational areas. Id.
 2    Overall, the JCM noted that the “regular visits and documentation at Donna” in
 3    November was “encouraging.” Id. Likewise, in El Paso, the JCM noted that the
 4    “availability and regularity of visitation for children and families continues to
 5    improve,” and did not note any compliance issues. Id.
 6          While Plaintiffs cite the September 2024 declarations by minors held in RGV
 7    as evidence that some minors did not visit with family members for “days at a time,”
 8    this is not necessarily evidence of a breach of the Settlement. ECF No. 1526-1, at
 9    16–17. The parties agreed that CBP will make “all reasonable efforts” to ensure
10    visitation between family members. ECF No. 1254-1, § VII.8.B.3. The declarants
11    report that minors in Donna did visit with family members in Donna, even if it was
12    not every day or immediately after they requested visits, 9 and, as noted, for minors
13    held in a different facility from non-parent or legal guardian relatives, such visitation
14    is not operationally or logistically feasible. Caanen Decl. ¶ 10. Plaintiffs therefore
15    have not shown that CBP did not make “all reasonable efforts” to ensure visitation
16    between family members.
17          Next, Plaintiffs imply that CBP is not informing class members about their
18    right to request visitation because class members “did not appear to know that they
19    could request visitation.” ECF No. 1526-1, at 17. But the parties agreed that CBP
20    will inform minors, orally and via a poster, of their right to request visitation with
21    family members. ECF No. 1254-1, § VII.8.B.3. CBP routinely complies with this
22    obligation. Caanen Decl. ¶ 10; Stamper Decl. ¶ 7; Campos Decl. ¶ 19.
23
24    9
             Notably, the minors held in El Paso who state that they did not receive regular
25    visitation with family members were held with at least one parent. See, e.g.,
26    B.M.M.C. Decl. (Nov. 20, 2024), ECF No. 1526-12, ¶¶ 4-6 (three-year-old was
      housed with mother, but father was in a separate pod); W.O.R.P. Decl. (Nov. 20,
27    2024), ECF No. 1526-13, ¶¶ 5, 13 (child was housed with father, but the child’s aunt
28    and uncle were housed in another pod).

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25       Page 19 of 29 Page
                                          ID #:52417



 1          Plaintiffs argue that because CBP has not consistently complied with the
 2    visitation provision, CBP has not complied with the Settlement “as a whole.” ECF
 3    No. 1526-1, at 17–18. Even if Plaintiffs could meet their burden of showing that
 4    CBP has not met its commitments in the Settlement’s family-unity provisions, this
 5    alone would not mandate that CBP failed to substantially comply with other critical
 6    provisions of the Settlement such that the Court should alter the parties’ agreed-to
 7    termination date. See Lab./Cmty. Strategy Ctr., 564 F.3d at 1122.
 8                         ii.   Special Considerations
 9          The parties agreed that CBP will make reasonable efforts to include
10    televisions in holding rooms and make “efforts” to include age-appropriate toys,
11    activities, and furniture. ECF No. 1254-1, § VII.8.C. CBP has substantially
12    complied with the “Special Considerations” provisions. CBP provides televisions
13    in Juvenile Priority Facilities for entertainment. Caanen Decl. ¶ 18; Stamper Decl.
14    ¶ 17. The Sectors have also made efforts to provide age-appropriate toys, including
15    coloring books, building blocks, cards, puzzles, and reading books, as well as
16    incorporated daily-recreation time. Caanen Decl. ¶¶ 10, 18; Stamper Decl. ¶¶ 7, 17.
17          Plaintiffs argue that CBP has failed to substantially comply with this provision
18    and has not implemented a “trauma-informed approach.” ECF No. 1526-1, 21–23.
19    But Plaintiffs read too much into these provisions that have an “aspirational tone”
20    and leave the details of implementation to CBP’s discretion. See Ashker v. Newsom,
21    968 F.3d 939, 945 (9th Cir. 2020). For example, Plaintiffs allege that CBP falls
22    short because CBP does not provide enough recreation time or a variety of toys.
23    ECF No. 1526-1, at 21–22. The Settlement, however, does not specify how many
24    toys or hours of activity CBP must provide. Instead, it requires that CBP “make an
25    effort to have available age-appropriate toys/activities,” as long as they do not pose
26    a safety risk. ECF No. 1254-1, § VII.8.C.2 (emphasis added). As the JCM notes in
27    the most recent report, caregivers at Donna “have been consistently observed to be
28    actively involved with the [unaccompanied] children and supervise play with a

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 20 of 29 Page
                                          ID #:52418



 1    variety of child-friendly toys and activities.” ECF No. 1522, at 11. The Sectors also
 2    report that they have incorporated a variety of safe, age-appropriate toys and
 3    activities for all minors. Caanen Decl. ¶ 10, 18; Stamper Decl. ¶ 7, 17. CBP has
 4    therefore met its commitment to “make an effort to have available age-appropriate”
 5    toys.
 6            As far as recreation time, Plaintiffs ignore the JCM’s December 2024 report
 7    that, at Donna, CBP implemented a schedule for “daily outdoor activity” in early
 8    November 2024. ECF No. 1522, at 11. The El Paso Sector provides similar
 9    recreation time. See Stamper Decl. ¶¶ 7, 17. Plaintiffs’ assertion that “staff actively
10    prevent children from entertaining themselves and playing” is exaggerated and fails
11    to consider that CBP’s priority is safety. See, e.g., ECF No. 1522, at 13 (“That UCs
12    and families feel safe in CBP custody is a fundamental precondition for trauma-
13    informed care.”). Children are not restricted from engaging in any activities in the
14    pods. See Stamper Decl. ¶ 17. However, to maintain the safety of all, there may be
15    situations where a child was prohibited from engaging in activity that may be
16    dangerous. Id.
17            Plaintiffs next complain that caregivers and CBP personnel do not provide
18    minors with information. ECF No. 1526-1, at 23. Although Plaintiffs do not specify
19    what information they refer to, Plaintiffs appear to challenge CBP’s failure to inform
20    class members about their immigration proceedings. See id. at 23 (citing W.O.C.M.
21    Decl. (Nov 20, 2024), ECF No. 1526-25, ¶ 6 (parent declarant reports that “[t]hey
22    have not told me why I am still here”); R.E.Z. Decl. (Sept. 18, 2024), ECF No. 1526-
23    16, ¶ 6 (“No one has explained to me why I have been here for 10 days or anything
24    about what is happening with my immigration case.”)). The Settlement does not
25    require CBP to regularly update class members about the status of their immigration
26    cases, and Plaintiffs should not stretch the “trauma-informed approach” to include
27    such a requirement. See Ashker, 968 F.3d at 945. Plaintiffs do not acknowledge that
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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 21 of 29 Page
                                          ID #:52419



 1    CBP staff often cannot predict how long a class member will be at a facility and may
 2    not be able to immediately look up the minor’s case status.
 3          In sum, Plaintiffs fail to show a lack of substantial compliance with the
 4    requirements in Section VII.8 of the Settlement.
 5                        h. Caregivers
 6          The Settlement contains provisions related to the hiring, availability, and
 7    responsibility of caregivers. ECF No. 1254-1, § VII.9. Caregivers must pass
 8    background checks, be available on a 24/7 basis, and have a supervisor available at
 9    all times. Id. § VII.9.A. CBP must also provide caregivers an orientation. Id.
10    § VII.9.B. The parties agreed that caregivers will: (1) support general care to infants
11    and tender-age children; (2) collect laundry; (3) issue and collect shower/hygiene
12    supplies; (4) monitor class members going into and out of showers; (5) assist in
13    bathing class members, as appropriate; (6) store clothing and issue it as needed; (7)
14    maintain a safe environment; and (8) maintain inventory of items. Id. § VII.9.C. In
15    addition, the parties agreed that CBP will “make best efforts” to provide additional
16    support for class members via caregivers, including: (1) assisting in communicating
17    and interacting with family members; (2) assisting with the care of class members,
18    such as toileting; and (3) supervising and supporting class members during
19    recreational activities. Id. § VII.9.D.
20          Plaintiffs cite JCM reports to argue that CBP has not substantially complied
21    with its caregiver program. See ECF No. 1526-1, at 23–24. But the JCM has found
22    that CBP meets the requirements in Section VII.9. See ECF No. 1372, at 42 (“CBP
23    is meeting the Settlement’s requirements regarding the caregiver program.”); ECF
24    No. 1522, at 11 (“[CBP] is meeting the Settlement’s requirements regarding the
25    number and deployment of Caregivers.”); id. at 10 (“Caregivers responded to
26    families expressing the needs of their children and supervised child-focused
27    activities.”); see also Campos Decl. ¶¶ 18–21 (describing the caregiver program);
28    Caanen Decl. ¶ 19 (caregivers in the RGV Sector); Stamper Decl. ¶ 18 (caregivers

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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25        Page 22 of 29 Page
                                         ID #:52420



 1    in the El Paso Sector). The JCM suggested improvements for CBP to meet the
 2    aspirational caregiver provisions—that CBP make its “best efforts” to assist with
 3    family interactions and recreational activities—and CBP is striving continually to
 4    improve the caregiver program, in accordance with the JCM’s suggestions. See
 5    Campos Decl. ¶¶ 20–21. But Plaintiffs have not shown that CBP is in breach of any
 6    obligations.
 7                       i. Notice Requirements
 8          In Section XI of the Settlement, the parties agreed that CBP will post
 9    Settlement Exhibit 1, ECF No. 1254-1, at 31, in all facilities where class members
10    can see and read it. Id. § XI. CBP must also inform class members and, in some
11    cases, their adult family members, of their rights under the Settlement orally and by
12    video. Id. This advisal is contained in Settlement Exhibit 3. Id. at 35. CBP must
13    also provide class members a Form I-770. Id. § XI. Lastly, this section requires
14    CBP to provide a copy of a list of free legal services to all class members. Id.
15          CBP routinely complies with these notice requirements. See Caanen Decl.
16    ¶¶ 11–13, 19; Stamper Decl. ¶¶ 8–9, 14, 18. Plaintiffs, however, allege that class
17    members frequently report not receiving a list of legal providers. ECF No. at 1254-
18    1, at 18. But according to CBP, the list of legal providers is provided to every class
19    member during processing. Caanen Decl. ¶¶ 11–12; Stamper Decl. ¶¶ 8–9. When
20    a family is released from custody with a Notice to Appear, the family is provided the
21    list again as part of their packet when they leave the Border Patrol facility. Caanen
22    Decl. ¶ 11; Stamper Decl. ¶ 8. Unaccompanied children also receive the list upon
23    their transfer to the Office of Refugee Resettlement. Caanen Decl. ¶ 11; Stamper
24    Decl. ¶ 8. Because Plaintiffs have not shown that CBP has failed to advise class
25    members in accordance with Section XI, Plaintiffs have not met their burden of
26    proving that CBP failed to substantially comply with the notice requirement.
27          Plaintiffs next allege that CBP “denies” class members’ requests to call
28    counsel. ECF No. 1526-1, at 18. But this allegation lacks support. Rather,

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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 23 of 29 Page
                                          ID #:52421



 1    Plaintiffs’ declarants state that class members were not advised of their right to call
 2    legal counsel—not that CBP “denied” their request to call counsel. See, e.g.,
 3    C.N.T.F. Decl. (Sept. 18, 2024), ECF No. 1526-5, ¶¶ 19-20 (“No one has told me
 4    that I can call a lawyer or given me a list of free lawyers. No one told my mom she
 5    could call a lawyer.”); G.N.P.C. Decl. (Sept. 19, 2024), ECF No. 1526-19, ¶ 23 (“My
 6    son and I have not been given a list of free legal services or told we can speak a
 7    lawyer.”).10 CBP’s advisal of their rights according to the Settlement, as well as
 8    CBP’s providing the list of legal counsel before class members depart, satisfies the
 9    plain language of the Settlement.
10                        j. Monitoring
11          Only one portion of the Settlement was separately embodied in a Court
12    order—the JCM provisions.        See ECF Nos. 1280, 1381, 1426, 1470.           In the
13    September 11, 2024 Order, the Court adopted the parties’ stipulation to extend the
14    JCM’s term to December 27, 2024. ECF No. 1470, at 5–6. That term has expired.
15    Plaintiffs ask the Court to modify the September 11, 2024 Order to extend the JCM’s
16    term to July 27, 2025, pursuant to Rule 60(b). ECF No. 1526-2, at 3–5. However,
17    neither the Settlement nor the September 11, 2024 Order permits more extensions.
18    See ECF No. 1254-1, § IX.10; ECF No. 1526-2, at 3–5. Plaintiffs have not
19    established that CBP failed to substantially comply with the Settlement. Indeed,
20    CBP has developed a robust monitoring system. Campos Decl. ¶¶ 9, 14–17, 22;
21    Caanen Decl. ¶ 21; Stamper Decl. ¶ 20.           CBP acknowledges that the JCM
22    recommended certain improvements and welcomes her recommendations. But the
23    JCM did not conclude that CBP’s monitoring system is inadequate overall, leaving
24    Plaintiffs short of proving a failure to substantially comply with provisions of the
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      10
            Plaintiffs also cite a declaration from M.A.C.M. (Nov. 20, 2024), ECF No.
      1526-20, ¶ 9 (“We were told that a lawyer cannot help us in here.”). It is unclear
27    who the hearsay declarant is. It is possible that another person in custody told the
28    individual that a lawyer could not help him.

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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25       Page 24 of 29 Page
                                         ID #:52422



 1    Settlement. To the extent the Court concludes otherwise and that additional
 2    monitoring is appropriate, it should be limited to the issues the JCM identified and
 3    for a limited duration. See Campos Decl. ¶ 23 (CBP is “working to review and
 4    implement these recommendations. OCMO anticipates that such a review will be
 5    largely complete within the next six months.”).
 6                 2.    The Court should not order a modification because the
 7                       parties anticipated the allegedly changed circumstances.
 8          Plaintiffs also fail to satisfy the second condition for modifying a consent
 9    decree under Rule 60(b). Ordinarily, “modification should not be granted where a
10    party relies upon events that actually were anticipated at the time it entered into a
11    decree.” Rufo, 502 U.S. at 385. “[A] court must first interpret the terms and
12    provisions of the decree as it would a contract to determine if the moving party
13    anticipated a significant change in factual conditions, thereby making modification
14    improper.” Asarco Inc., 430 F.3d at 976. Here, the parties anticipated that, at times
15    during the settlement period, CBP “may be able to only partially comply with certain
16    provisions of the Agreement.” ECF No. 1254-1, § VI.1; see also id. § V.1 (“The
17    Parties are aware that there are situations that . . . may nevertheless impact CBP’s
18    ability to maintain full compliance with this Agreement.”). The parties also planned
19    for the possibility that disputes may arise about whether CBP was complying with
20    the Settlement. Id. § XIII. Nevertheless, Plaintiffs agreed to the termination
21    provision. Id. § II.8. Plaintiffs have, at most, alleged partial noncompliance with
22    the Settlement. Plaintiffs have not shown a “nearly complete failure to comply” that
23    could not be anticipated. Thompson, 404 F.3d at 827. Because Plaintiffs anticipated
24    possible limited noncompliance when they agreed to the termination provision, the
25    Court should not modify the termination date based on a showing, at most, of limited
26    noncompliance. See Asarco Inc., 430 F.3d at 982–83.
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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25        Page 25 of 29 Page
                                         ID #:52423



 1                 3.    The allegedly changed circumstances do not make
 2                       compliance with the termination provision more onerous,
 3                       unworkable, or detrimental to the public interest.
 4           Next, Plaintiffs do not prove that compliance with the Settlement’s
 5    termination provision has become “more onerous, unworkable, or detrimental to the
 6    public interest.” Lab./Cmty. Strategy Ctr., 564 F.3d at 1120 (quoting Asarco Inc.,
 7    430 F.3d at 979). Plaintiffs contend that the Settlement’s termination on January 29,
 8    2025, would be detrimental to the public’s interest in the welfare of children. ECF
 9    No. 1526-1, at 27. But to the extent Plaintiffs believe that CBP is not providing
10    “safe and sanitary” conditions, id., Plaintiffs remain able to seek enforcement of the
11    FSA. FSA ¶ 12.A. Further, CBP has incorporated the Settlement provisions in its
12    guidance, which remains in effect. See Caanen Decl. ¶ 3; Stamper Decl. ¶ 3.
13    Therefore, Plaintiffs’ allegations of noncompliance do not demonstrate that
14    compliance with the Settlement’s termination provision is detrimental to the public
15    interest.
16                 4.    Extending the Settlement’s termination date would not be
17                       suitably tailored to resolve the problems created by the
18                       allegedly changed conditions.
19           Finally, Plaintiffs have not shown that changing the termination date would
20    be “suitably tailored to resolve the problems created by the [alleged] changed . . .
21    condition.” Lab./Cmty. Strategy Ctr., 564 F.3d at 1120 (quoting Asarco Inc., 430
22    F.3d at 979). This Settlement arose from litigation about the interpretation of the
23    FSA and sought to “clarify[ ] the Parties’ understanding of the meaning of
24    [Paragraphs 11 and 12A] of the [FSA], as they apply to conditions of CBP detention
25    in the RGV and El Paso Sectors.” ECF No. 1254-1, at 3. The FSA obligations
26    continue to apply, and the Settlement has not reduced disputes. Further, while the
27    extension sought by Plaintiffs is unsupported and should be denied, Defendants are
28    willing to engage with Plaintiffs on a reasonable path forward in a way suitably

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     Case 2:85-cv-04544-DMG-AGR      Document 1534 Filed 01/07/25        Page 26 of 29 Page
                                         ID #:52424



 1    tailored to address the concerns raised by the JCM in her most recent report and to
 2    ensure ongoing compliance with the FSA.
 3          And doubling the duration of the Settlement is under no circumstances
 4    suitably tailored. As the government has explained, the Court does not have
 5    authority to extend the Settlement, and Plaintiffs have not shown the Rule 60(b)
 6    factors. But should this Court determine that it has authority to impose ongoing
 7    obligations on the government, it must first consider a much more targeted and time-
 8    limited remedy than Plaintiffs propose.
 9          In doing so, the Court must limit court-imposed relief both in scope and time,
10    such as a short extension of the JCM’s term. By extending only the JCM’s term for
11    a short period, the Court would be targeting relief to enforce the relevant provisions
12    of the FSA rather than imposing new relief without required enforcement
13    proceedings.      Indeed, OCMO has explained that it “welcomes the[]
14    recommendations from the JCM, and is working to review and implement [them],”
15    including those
16          in her December 2024 final report, [where] the JCM made several
17          recommendations for continued monitoring of various aspects of CBP’s
            medical processes. These included, for example, a continued
18          assessment of the processes and procedures for the transmission of
19          medical information between MSC personnel and CBP personnel, and
            from CBP personnel to local healthcare systems; an assessment of the
20          use of isolation rooms; and a continued assessment and oversight of
21          MSC consultation with pediatric advisors.
22    Campos Decl. ¶ 23. OCMO “anticipates that such a review will be largely complete
23    within the next six months.” Id. Thus, an extension of the JCM term beyond six
24    months is not warranted.
25          Imposing the Settlement beyond those specific terms where Plaintiffs have
26    made the requisite showing is also not warranted. As explained above, it is
27    undisputed that CBP has achieved substantial compliance in most areas, and
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     Case 2:85-cv-04544-DMG-AGR       Document 1534 Filed 01/07/25        Page 27 of 29 Page
                                          ID #:52425



 1    Plaintiffs have failed to establish any unanticipated change in circumstances. There
 2    is no justification for imposing the full Settlement for an additional 2.5 years.
 3          While Plaintiffs use sweeping language to describe CBP’s alleged
 4    noncompliance with the Settlement, Plaintiffs identify at best a limited number of
 5    purported areas of breach. See ECF No. 1526-1, at 8–20. Plaintiffs suggest that the
 6    Court should “doubt CBP’s compliance” as to other provisions. ECF No. 1526-1,
 7    at 27. But it is Plaintiffs’ burden to prove noncompliance that warrants modification.
 8    See Lab./Cmty. Strategy Ctr., 564 F.3d at 1121. Moreover, CBP undisputably has
 9    complied with many Settlement provisions. See Section III.B.1, supra. Plaintiffs
10    make no effort to prove noncompliance as to the specific, measurable requirements
11    in sections VII.1 (facility designation); VII.2 (contract quality assurance); VII.3
12    (enhanced medical support); VII.4 (nutrition); VII.5.A (temperature); VII.6.1 and
13    6.3–6.5 (sleep); and VII.7.1–7.5 and 7.7–7.10 (hygiene and sanitation). Extending
14    the duration of provisions with which Plaintiffs fail to prove a lack of substantial
15    compliance would be unnecessary. In sum, if this Court concludes that Rule 60(b)
16    applies and authorizes it to impose the Settlement beyond the clear termination date,
17    suitably tailored relief would be limited to extending the term of the JCM or those
18    specific provisions where Plaintiffs made the requisite showing, and an extension
19    beyond six months is not justified.
20    IV.   CONCLUSION
21          For all the foregoing reasons, the Court should deny the relief requested in
22    Plaintiffs’ Motion to Modify the 2022 CBP Settlement.
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     Case 2:85-cv-04544-DMG-AGR   Document 1534 Filed 01/07/25     Page 28 of 29 Page
                                      ID #:52426



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 1                             CERTIFICATE OF SERVICE
 2          I certify that I served a copy of the foregoing document on all counsel of
 3    record by means of the District Court’s CM/ECF system.
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      contains 7,634 words, which complies with the word limit set by Court order dated
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